               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

IN RE: SUBPOENA TO NON-PARTY
LINDSEY O. GRAHAM in his official
capacity as United States Senator,

In the matter of:                                          CIVIL ACTION NO.
                                                           1:22-cv-03027-LMM
SPECIAL PURPOSE GRAND JURY,
FULTON COUNTY SUPERIOR
COURT CASE NO. 2022-EX-000024

                  POST-HEARING REPLY BRIEF
         ON BEHALF OF THE SPECIAL PURPOSE GRAND JURY

      At the conclusion of the August 10, 2022 hearing on this matter, the Court

directed counsel for Senator Lindsey Graham to file a reply clarifying his position

on the applicable burden of proof following invocations of the Speech or Debate

Clause. The District Attorney, in her capacity as the legal advisor to the Fulton

County Special Purpose Grand Jury, was directed to promptly file any response.

Senator Graham having filed his post-hearing brief, the District Attorney now

responds.

                                   ARGUMENT

      Binding Eleventh Circuit precedent indicates that in order for the Speech or

Debate Clause to shield Senator Graham from having to comply with his subpoena,

he must make a showing that legislative immunity actually applies to his actions.

Additional federal authority (as well as the nature of the Senator’s own arguments)
provides thoughtful analysis as to why this is suitable, and, as a movant seeking to

quash his subpoena, the burden appropriately lies with the Senator. Additionally,

other lines of inquiry into non-legislative activities are clearly appropriate and

require denial of the Senator’s motion, and in any case, further factual

development should occur, either in Fulton County Superior Court or before this

Court.

         A. The Eleventh Circuit has held that invocation of the Clause’s
            protection requires a legislator to make a showing.
     As the Court indicated at the hearing on this matter, the Eleventh Circuit has

directed that any official seeking the Speech or Debate Clause’s protection must

show why the Clause applies. As stated in Bryant v. Jones, 575 F.3d 1281, 1304-05

(2009):

         While the Court has given the Clause broad application, its
         protections are carefully tailored to its purposes. See Eastland, 421
         U.S. at 501-02, 95 S. Ct. at 1820-21. Officials claiming protection
         “must show that such immunity is justified for the governmental
         function at issue.” Hafer v. Melo, 502 U.S. 21, 28-29, 112 S. Ct. 358,
         363, 116 L. Ed. 2d 301 (1991). Accordingly, the privilege enures only
         to legislators engaging in actions considered “an integral part of the
         deliberative and communicative processes by which [legislators]
         participate in . . . proceedings with respect to the consideration and
         passage or rejection of proposed legislation.” Smith v. Lomax, 45 F.3d
         402, 405 (11th Cir. 1995) (quoting Gravel, 408 U.S. at 625, 92 S. Ct.
         at 2627) (alteration in original). The Clause does not confer absolute
         immunity “simply for the personal or private benefit of Members of
         Congress, but to protect the integrity of the legislative process by
         insuring the independence of individual legislators.” Brewster, 408
         U.S. at 507, 92 S. Ct. at 2535.


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(emphasis added). This language is not equivocal. When an official invokes the

Clause’s protection, he must show why it applies. Bryant is also binding precedent

because “[a] circuit court's decision binds the district courts sitting within its

jurisdiction while a decision by the Supreme Court binds all circuit and district

courts.” McGinley v. Houston, 361 F.3d 1328, 1331 (11th Cir. 2004).

       Senator Graham simply responds that Bryant is inapposite. Reply, p. 8. The

Senator argues that, rather than requiring him to meet any burden or make any

showing, Bryant merely requires that he provide “an explanation for why the sort

of activity in question should be deemed absolutely immune.” Reply, p. 8-9

(emphasis original). The distinction which the Senator attempts to draw is a

curious one, since his explanation for why the Clause should apply to his actions

implores this Court to credit his characterization of his actions and disregard

anyone else’s. Even setting aside the fact that “the party seeking to quash a

subpoena bears a heavy burden of proof,” Irons v. Karceski, 74 F.3d 1262, 1264

(D.C. Cir. 1995), these circumstances require the Senator to make a showing

capable of persuading this Court that the Clause should apply to quash his

subpoena. This is because, at least with regard to the Senator’s phone calls to

Georgia Secretary of State Brad Raffensperger, the nature of the act does not

indicate it is legislative at all.




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      In many (perhaps most) circumstances, it will be relatively clear whether or

not an activity is “legislative.” If a Member of Congress votes on a bill, makes a

speech on the floor of the Senate in favor of legislation, or issues a subpoena on

behalf of a committee, the inquiry will end. See Eastland v. USSF, 421 U.S. 491,

506 (1975) (“The Subcommittee was acting under an unambiguous resolution from

the Senate authorizing it to make a complete study…That grant of authority is

sufficient to show that the investigation upon which the Subcommittee had

embarked concerned a subject on which ‘legislation could be had.’”). This was the

case in Committee on Ways & Means v. U.S. Dep’t of Treasury, 2022 WL

3205891, cited by the Senator for its holding that the activity in question there was

“facially legislative” and dispensing with evidence proffered to demonstrate some

improper motive. Id. at *4-5. However, the portion of that case cited by the Senator

makes clear that the activity in question was a statutorily authorized request by a

committee chairman, and had the act been a committee subpoena, the Court would

have looked to the committee’s resolutions to determine the subpoena’s purpose.

Id. at *5 (cited in Reply at p. 5, fn.3). By contrast, a phone call from a Senator to a

state-level official in a neighboring state can never be “facially legislative” and

could only be considered legislative in any regard after a showing of facts by the

Senator. This is precisely what Senator Graham has attempted to do in his

pleadings and arguments before this Court; the Senator merely characterizes his


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own “explanations” as definitive, while any other explanations are irrelevant or

mistaken.

      The Senator argues that there is “no conflict of legally material fact”

regarding his phone calls to Secretary Raffensperger. Reply, p. 6. The District

Attorney does not understand this assertion, since these facts are defined by

conflict and have been since they first became public knowledge in November of

2020. To say that “neither the pleadings1 nor the public record” indicate any

material factual conflict is bizarre, unless you consider only the Senator’s

pleadings and statements in the public record. In order to find the pleadings bereft

of material conflict, one would have to completely discard the Certificate of

Material Witness, ignore the public statements of Secretary Raffensperger and

Gabriel Sterling,2 and accept a generous interpretation of Senator Graham’s own

public statements.3 This would leave only the Senator’s assertions that, as a


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 Senator Graham also argues that Amici are “wrong to suggest that Senator
Graham had to do more than point to the pleadings themselves.” But Amici
suggested no such thing. In their brief, Amici do point to Senator Graham’s
pleadings, but they simply argue that his pleadings fail to persuade or make a
necessary showing of legislative activity. Brief of Amici, p. 10.
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  These would include, among others, Raffensperger’s statements that the Senator
suggested discarding ballots improperly for the benefit of former President
Donald Trump as well as Sterling’s statements that Graham asked about ways
that ballots might be discarded to support a possible “court challenge.”
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  At footnote 5 on page 13 of the Reply, the Senator suggests that his statements
regarding upcoming Senate runoffs being discussed on the phone calls make his

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Senator and Chairman of the Judiciary Committee, his explanation of his actions

ends the inquiry.

      As pointed out by Amici in their brief, such a conclusory approach is not

sufficient or proper. The Third Circuit has appropriately required that legislators

demonstrate the applicability of legislative privilege by a preponderance of the

evidence. United States v. Menendez, 831 F.3d 155, 165 (3d Cir. 2016); see also

United States v. James, 888 F.3d 42, 45 (3rd Cir. 2018); Gov't of Virgin Islands v.

Lee, 775 F.2d 514, 524 (3d Cir. 1985). There is no indication that legislative

privilege has perished within the Third Circuit as a result. As Amici points out at

page 10 of their brief, the Third Circuit has provided a careful and reasoned

explanation for this arrangement that is perfectly applicable in these circumstances,

at this stage of the proceedings. See Lee, 775 F.2d at 523-25. In Lee, the Third

Circuit reversed a District Court which relied on identical reasoning presented by

Senator Graham in this case: “the district court held that, so long as Lee's



claims of legislative purpose more plausible. It is not plausible that the Senator
was suggesting the formulation and passage of possible national legislation to
micromanage signature verification standards within the states, to be passed
during the six weeks before a January runoff during one of the most politically
contentions moments in living memory. What is plausible is that the Senator’s
statements meant what they said: that he exhorted Raffensperger to change
Georgia’s methods to those preferred by the Senator. Additionally, Art. I, § 5, cl.
1 of the Constitution only allows Members of Congress to determine whether
constitutional requirements such as age and residence have been met by other
members. Powell v. v. McCormack, 395 U.S. 486, 522 (1969).

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conversations purportedly involved legislative fact-finding, legislative immunity

barred any inquiry into whether the conversations actually involved legislative

fact-finding.” Id. at 523 (emphasis added). Distinguishing the circumstances in Lee

from those where acts are unquestionably legislative in form, the Third Circuit

observed that

      [h]ere, in contrast, it is Senator Lee's purpose or motive that will
      determine in part whether the trip was a legislative act at all. Thus, the
      government here does not seek to inquire into motives for a legislative
      act, but rather questions whether certain legislative acts were in fact
      taken, and whether other non-legislative acts were misrepresented as
      legislative.
Id. at 524. In Lee, such an inquiry had to take place before the district court

charged with trying the case.4

      Such an inquiry is required in this case. While the Senator decries purported

inquiries into his motives, it is his own representations of his motives which he

presents as definitive evidence of the legislative nature of his activities. As Amici



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  Dicta in Mitchell v. Forsyth, 472 U.S. 511 (1985) indicates that, at least in civil
litigation where a legislator is being sued, the plaintiff’s complaint is what
controls. “[I]n evaluating a claim of immunity under the Speech and Debate
Clause, a court must analyze the plaintiff's complaint to determine whether the
plaintiff seeks to hold a Congressman liable for protected legislative actions or
for other, unprotected conduct.” Id. at 529. In the circumstances of a subpoena,
there will rarely be more than the subpoena itself. However, in this case, there is
something similar to a “complaint” in civil matters: the Certificate, which states
that Senator Graham engaged in decidedly non-legislative activity on the phone
calls and in other activities relevant to the Special Purpose Grand Jury’s
investigation.

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points out in their brief, the Senator has failed to demonstrate that those

representations either control or are persuasive enough to require total quashal. As

a result, his motion should be denied.


      B. The additional lines of inquiry identified by Amici are proper and
         non-legislative.

      Senator Graham argues that the additional lines of inquiry, or “buckets”

identified by Amici in their brief are all in some way improper and barred by

legislative immunity and privilege. However, his reasoning fails to respond to

Amici’s arguments or established precedent. Facts regarding the arrangement or

preparation of the phone calls are not legislative because the calls cannot be

demonstrated to be legislative. Public statements and “cajoling” or “exhorting”

statements and activities are not legislative and have been defined as outside the

“sphere of legitimate legislative activity” for decades. The Senator’s arguments

neither answer those presented by Amici nor address longstanding precedent on

these issues.

      C. The Court should deny the motion to quash the subpoena in its
         entirety and remand the case to Superior Court for further factual
         development, or in the alternative, request further factual
         development prior to remand.

     Senator Graham has repeatedly insisted that total quashal is required in this

instance, but in his Reply he nevertheless encourages this Court to pursue partial

quashal with directives to the parties if necessary. The District Attorney maintains

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that total quashal is not appropriate and asks that this Court deny the Senator’s

motion and remand to Superior Court for further factual development. After the

record is developed below, any issues can be removed and presented to the Court

at that time. If the Court finds that the Senator has appropriately modified his

request for relief from this Court from total quashal to some form of “partial”

quashal, and if the Court determines that it can maintain jurisdiction over this

matter while denying the Senator’s motion for total quashal, the Court could

require that factual development take place in federal court and decide any disputes

prior to remand.5

                                  CONCLUSION

      In the midst of an ongoing recount for the election of Senator Graham’s

political ally, he called the official in another state charged with supervising the

recount and suggested he change his methods. The official, as well as other

participants on the call, indicated that the Senator explored options to discard

votes in order to assist the president. To this, Senator Graham responds that the


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  The District Attorney, representing the Special Purpose Grand Jury in these
matters, has thus far protected the confidentiality of grand jury proceedings by
relying solely on information within the public record. However, if required by
order of this court to avoid quashal of the subpoena, the District Attorney stand
ready to make relevant grand jury information available to the Court in camera if
the Court so orders. While we are loath to disclose any grand jury information,
such a disclosure is necessary where it is ordered by a court and where it will
allow the Special Purpose Grand Jury to continue its investigation and prevent
quashal of its subpoenas.

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other participants on the call must all be mistaken, and he asks this Court to end

the inquiry there. Binding Eleventh Circuit precedent as well as persuasive Third

Circuit precedent demonstrate that quashal is not appropriate under these facts or

at this stage of the proceedings, and as a result, the District Attorney respectfully

requests that this Court deny the Senator’s motion.




     Respectfully submitted, this 12th day of August 2022.

                                              FANI T. WILLIS
                                              DISTRICT ATTORNEY
                                              ATLANTA JUDICIAL CIRCUIT


                                              By:

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                      CERTIFICATE OF COMPLIANCE

     The undersigned counsel hereby certifies that this pleading complies with

the Local Rules of this Court, including Local Rules 5.1.C and 7.1.D (N.D. Ga.)

in that it is double-spaced and composed in 14-point Times New Roman font.

     This 12th day of August 2022.



                         CERTIFICATE OF SERVICE

     I hereby certify the foregoing was served upon the following by email:


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     Dated this 12th day of August, 2022.


                        s/ F. McDonald Wakeford
                        F. McDonald Wakeford




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